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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION


 MOTHER DOE,

       Plaintiff,

       v.                                       Case No. 8:25-cv-1577-KKM-TGW

 SCHOOL BOARD OF MANATEE
 COUNTY, FLORIDA,

      Defendant.
 ____________________________________


                                     ORDER

       With her consent, I transfer this case to the Honorable Charlene Edwards

 Honeywell under Local Rule 1.07(a). The Clerk is directed to reassign this case to

 Judge Honeywell for all further proceedings.

       ORDERED in Tampa, Florida, on June 23, 2025.
